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UNITED STATES DISTRICT COURT
ARIZONA — PHOENIX
December 2, 2021

USA v. Toni Louise Richardson Case Number: CR-21-00977-002-PHX-GMS

 

    
  

 

ORDER SETTING CONDITIONS OF RELEA FILED
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X PERSONAL RECOGNIZANCE — DB ___ copy
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DEP
NEXT APPEARANCE: Trial February 1, 2022 at 9:00 AM or as directed through counse UTy
401 West Washington St., Phoenix, AZ, Courtroom #602, 6th Floor

 

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the Court may impose the following least restrictive condition(s) only as
necessary to reasonably assure the appearance of the person as required and the safety of any other person and
the community. ,

IT IS ORDERED that defendant is subject to the following conditions and shall:

Xl promise to appear at all proceedings as required and to surrender for service of any sentence imposed.

XI not commit any federal, state, tribal or local crime.

xX cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. § 14135a.

IMMEDIATELY advise his/her attorney and Pretrial Services, in writing, PRIOR to any change in
residence address, mailing address and telephone number.

C] maintain or actively seek employment (combination work/school) and provide proof of such to Pretrial
Services.

XI not travel outside of Arizona unless PRIOR Court or Pretrial Services permission is granted to do so.

OC only travel directly to the prosecuting district, and through all states and counties between the District of
Arizona and the prosecuting district, for Court purposes and lawyer conferences unless PRIOR Court or
Pretrial Services permission is granted to travel elsewhere.

O avoid all direct or indirect contact with persons who are considered alleged victim(s) or potential

witness(es).

shall report as directed to the U.S. PRETRIAL SERVICES 1-800-769-7609 or 602-322-7350; 401 W.
Washington St., Suite 260, Phoenix, AZ 85003.

O not drive without a valid driver license.
OQ execute an agreement to forfeit the bond or designated property upon failing to appear as required:

O be released to the third-party custody of: and shall reside with the third-party custodian unless Pretrial
Services approves the defendant to reside elsewhere.

C] Choose an item. The defendant shall participate in alcohol treatment, submit to alcohol testing and make
copayment toward the cost of such services, as directed by Pretrial Services. The defendant shall not

obstruct or attempt to obstruct or tamper, in any fashion, with the efficiency and accuracy of any substance
use testing or monitoring.

O not use or possess a narcotic drug or other controlled substance (as defined by 21 U.S.C. § 802) unless
prescribed for the defendant by a licensed medical practitioner; this provision does not permit the use or
possession of medicinal marijuana even with a physician's written certification. The defendant shall not
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possess, ingest, or otherwise use a synthetic cannabinoid or synthetic narcotic. The defendant shall
participate in drug treatment and submit to drug testing and make copayment toward the cost of such
services as directed by Pretrial Services. The defendant shall not obstruct or attempt to obstruct or tamper,
in any fashion, with the efficiency and accuracy of any substance use testing or monitoring.

Xl surrender all travel documents to Pretrial Services by December 3, 2021 (by noon) and shall not obtain a
passport or other travel document during the pendency of these proceedings.

O not obtain a passport or other travel documents during the pendency of these proceedings.

C maintain or commence an educational program and provide proof of such to Pretrial Services.

C not possess or attempt to acquire any firearm, destructive device, or other dangerous weapon or
ammunition.

O abide by specified restrictions on personal associations, place of abode or travel.

maintain weekly contact with his/her attorney by Friday, noon of each week.

C timely pay his/her monthly child support payments as previously ordered by the subject state court in the
total amount of: $

not obtain any new financial accounts without prior notification and approval of Pretrial Services.
O participate in a mental health treatment program and comply with all the treatment requirements including

taking all medication prescribed by the mental health care provider and make a copayment toward the cost
of such services as directed by Pretrial Services.

O resolve all pending lower court matters and provide proof of such to Pretrial Services.

C] participate in a Specialized Treatment Program and comply with all treatment requirements including
taking all medications prescribed by a physician/psychiatrist and make a copayment toward the cost of
services as directed by Pretrial Services.

O register as a sex offender in compliance with all federal, state, tribal or local laws or as ordered by the
court. Failure to comply with registration laws may result in new criminal charges.

ADVICE OF PENALTIES AND SANCTIONS

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for
contempt of court and could result in imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of
not more than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not
more than one year. This sentence will be consecutive (i.e., in addition) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim,
or informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or
attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve
a sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed.
If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
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— you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years —

you will be fined not more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years,

or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or

both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other
sentence you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant
I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I

promise to obey all conditions of release, to appear as directed, and to surrender for service of any sentence
imposed. I am aware of the penalties and sanctions set forth above.

 

DATE: SIGNATURE OF DEFENDANT

 

 

 

 

Custodian agrees to (a) supervise the defendant in accordance with all conditions of release, (b) to use
every effort to assure the appearance of the defendant at all scheduled court proceedings, and to notify the court
immediately in the event the defendant violates any condition of release or disappears. We, the undersigned, have
read and understand the terms of this bond and conditions of release and acknowledge that we are bound by it
until duly exonerated.

 

SIGNATURE OF CUSTODIAN(S)

 

 

 

Directions to United States Marshal:
XX! The defendant is ORDERED released after processing.

L] The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
that the defendant has posted bond and/or complied with all other conditions for release. If still in custody,
the defendant must be produced before the appropriate judge at the time and place specified.

DATE: December 2, 2021 J :

John Z. Boyle
USA, PTS/PROB, USM, DEFT, DEFT ATTY United States Magistrate Judge

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